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                 EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


ESOTERIX GENETIC LABORATORIES
LLC,

                       Plaintiff,
                                                     CASE NO. 14-cv-13228
                  -against-

QIAGEN N.V., QIAGEN GMBH,QIAGEN
NORTH AMERICAN HOLDINGS,INC.,                        AMENDED COMPLAINT
QIAGEN INC., and QIAGEN
MANCHESTER,LTD.,

                       Defendants.


                  Plaintiff Esoterix Genetic Laboratories, LLC("Plaintiff' or "EGL"), by its

undersigned counsel, as and for its Complaint against Qiagen N.V., Qiagen GmbH,Qiagen

North American Holdings, Inc., Qiagen Inc., and Qiagen Manchester, Ltd.(collectively

"Defendants" or "Qiagen"), alleges as follows.

                                     NATURE OF THE ACTION

                  1.       Plaintiff brings this action against Qiagen for damages arising out of

Qiagen's patent infringement, violation ofthe Massachusetts Unfair and Deceptive Trade

Practices Act, breach of contract, and breach ofthe covenant of good faith and fair dealing

based on Qiagen's sale of certain products prior to FDA approval and beyond the scope of a

November 26, 2008 License Agreement to which both Qiagen N.V. and EGL are successors in

interest(the "License Agreement")

                                             THE PARTIES

                  2.       Plaintiff EGL is a wholly-owned subsidiary of Laboratory Corporation of

America Holdings("LabCorp"), a corporation organized under the laws of the State of Delaware




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with its principal place of business located at 358 South Main Street, Burlington, North Carolina.

EGL is licensed to do business in the Commonwealth of Massachusetts and has its primary

office there.

                  3.     Upon information and belief, defendant Qiagen N.V. is a company

organized under the laws of The Netherlands.

                  4.     Upon information and belief, defendant Qiagen GmbH is a German

company.

                  5.     Upon information and belief, defendant Qiagen GmbH is a wholly owned

subsidiary of Qiagen N.V.

                  6.     Upon information and belief, defendant Qiagen North American Holdings,

Inc. is a corporation organized under the laws of California with its principal place of business in

Germantown, Maryland.

                   7.    Upon information and belief, defendant Qiagen North American Holdings,

Inc. is licensed to do business in the Commonwealth of Massachusetts.

                         Upon information and belief, defendant Qiagen North American Holdings,

Inc. is a wholly owned subsidiary of Qiagen N.V.

                   9.    Upon information and belief, defendant Qiagen Inc. is a corporation

organized under the laws of California with its principal place of business in Germantown,

Maryland.

                   10.   Upon information and belief, defendant Qiagen Inc. is licensed to do

business in the Commonwealth of Massachusetts.

                   11.   Upon information and belief, defendant Qiagen Inc. is a wholly owned

subsidiary of Qiagen North American Holdings, Inc.




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                   12.     Upon information and belief, defendant Qiagen Manchester, Ltd.,

formerly known as DxS Ltd., is an English company.

                   13.     Upon information and belief, defendant Qiagen Manchester, Ltd. is a

wholly owned subsidiary of Qiagen N.V.

                   14.     Qiagen GmbH, Qiagen North American Holdings, Inc., Qiagen Inc., and

Qiagen Manchester, Ltd. have acted and continue to act as Qiagen N.V.'s agent and/or alter-ego

with respect to the License Agreement.

                          JURISDICTION,VENUE AND GOVERNING LAW

                   15.     Pursuant to Paragraph 10(g) ofthe License Agreement,the License

Agreement is to be "governed by and construed in accordance with the laws of the

Commonwealth of Massachusetts irrespective of any conflicts oflaw principles."

                    16.    This Court has jurisdiction over this action based on diversity of

citizenship pursuant to 28 U.S.C. § 1332. The amount in controversy, exclusive of interest and

costs, is in excess of $75,000. This Court also has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

                    17.    Venue and jurisdiction is proper in this district under 28 U.S.C. § 1391(a),

(b)&(c) and § 1400 because Qiagen does business within this jurisdiction, a substantial portion

of events giving rise to this action occurred within the Commonwealth of Massachusetts and

Defendant has committed one or more acts of infringement in this district.

                                              THE FACTS

                    18.    In 2008, non-party Genzyme Corporation("Genzyme")entered into the

License Agreement with non-party DxS, Ltd.("DxS"), a United Kingdom-based company,to

allow DxS to manufacture and sell certain products utilizing certain patents set forth in Schedule




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A to the License Agreement, including, but not limited to, U.S. Patent No. 7,294,468 (the "`468

Patent"), International Patent Application No. PCT/LTS2005/010645, and Canadian Patent

Application No. 2,566,277 (collectively, the "Patents"), which provide for a method of detecting

the presence of epidermal growth factor receptor or EGFR,in exchange for a royalty payment to

Genzyme as calculated by the License Agreement.

                    19.   EGFR activating gene mutations, when present, are predictive ofthe

efficacy of certain chemotherapeutic treatments for lung cancer and other diseases.

                   20.    In or around September 2009, Qiagen N.V. acquired DxS and, upon

information and belief, as a result of the acquisition, assumed all rights and obligations under the

License Agreement.

                    21.   In or around December 2010, by way of an Asset Purchase Agreement

LabCorp purchased certain assets from Genzyme, including substantially all of Genzyme's

genetics testing business, including Genzyme's rights under the License Agreement and rights to

the Patents (collectively with the other assets,"the Purchased Assets")

                    22.   At the time ofthe purchase by LabCorp, Genzyme was a Massachusetts

corporation with its principal place of business in Massachusetts.

                    23.   In or around the time LabCorp entered into the Asset Purchase Agreement,

it created EGL as a wholly-owned subsidiary to control the Purchased Assets. EGL's operations

regarding the Purchased Assets were and still are located in Massachusetts.

                    24.   EGL,therefore, is a successor in interest to the License Agreement and

has all right, title and interest in the Patents.

                    25.   The License Agreement granted Qiagen N.V. anon-exclusive sublicense

to the Patent Rights, but subject to certain limitations.




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                   26.    For example, the License Agreement granted Qiagen N.V. limited rights

to Licensed Products and Licensed Research Products.

                   27.    The License Agreement defined Licensed Products) as:

                   any article, device or composition designed for use in the Field to
                   determine, in a patient sample, the presence or absence of specific
                   nucleic acid variances) in the kinase domain ofthe EGFR gene for
                   the purpose of determining the effectiveness of an EGFR targeting
                   treatment in a patient, including reporting results thereof to a
                   patient and/or physician, which cannot be manufactured, used,
                   offered for sale, or sold, in whole or part without infringing one or
                   more Valid claims under the Patent Rights and that comprises:(i)
                   any kit, chemical and or biological reagent, or combination of
                   chemical and/or biological reagents, testing materials and
                   accessories sold together or separately, which are designed to
                   detect EGFR mutations, and/or (ii) one or more analyte specific
                   reagents sold for use in screening, chemical or biological reagents,
                   testing materials, accessories and point of care instructions, packed
                   and sold collectively as a sing product unit designed, promoted,
                   marketed and sold for use as an in vitro diagnostic test.

                   28.    Licensed Research Product(s), in turn, was defined to mean:

                   any article, device or composition designed for use the Field to
                   determine, in a sample, the presence or absence of specific nucleic
                   acid variances) in the kinase domain of the EGFR gene which
                   cannot be manufactured, used, offered for sale or sold, in whole or
                   in part, without infringing one or more Valid Claims under the
                   Patent Rights and that comprises:(i) one or more analyte specific
                   reagents, and/or (ii) a combination of chemicals and/or biological
                   reagents, testing materials, accessories and instructions packed and
                   sold collectively as a single product unit for research use only as
                   an in vitro Licensed Research Product.

                    29.    Section 1.9 ofthe License Agreement specifically defined the "Field" for

Licensed Research Products to mean "non-commercial research use only."

                    30.    Per the License Agreement, until regulatory approval could be had for the

EGFR mutation testing kit (the "Test Kit"), Qiagen N.V. had the right to offer for sale and to sell

Licensed Research Products only and was expressly prohibited from offering EGFR Test Kits for

commercial research and diagnostic testing purposes. In other words, Qiagen N.V.'s license for


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EGFR testing, prior to regulatory approval, was limited to the sale of analyte specific reagents

and/or combinations of chemicals, testing materials, accessories and instructions sold as a single

product for non-commercial research uses only.

                 31.    The License Agreement provides:

                 2.1 License Grant. Subject to the terms of this Agreement,
                 Genzyme hereby grants to Licensee for use in the Field a non-
                 exclusive license (without the right to grant sublicenses), under the
                 Patent Rights:

                 (b)to make sell offer for sale or have sold Licensed Research
                 Products in the Territory. For the avoidance of doubt, Licensed
                 Research Products shall not be manufactured, offered for sale or
                 sold, in whole or part, for use in any clinical diagnostics with
                 patient samples including reporting results thereof to a patient
                 and/or physician, e.g. to determine the effectiveness of an EGFR
                 targeting treatment in a patient.

                  32.    Any sale of Licensed Research Products for commercial research and

diagnostic testing purposes in the form of Test Kits or otherwise, by Qiagen prior to regulatory

approval would be in violation of the License Agreement and EGL's patent rights.

                  33.    During the same time period that Qiagen N.V. had the right to offer

Licensed Research Products to third parties, EGL had the exclusive right to offer EGFR testing

for commercial research and diagnostic testing purposes to determine the effectiveness of an

EGFR targeting treatment in a patient.

                  34.    During the term ofthe License Agreement, and prior to regulatory

approval, Qiagen paid EGL royalties based on its purported sales of Licensed Research Products

into the market.

                  35.    For example, in 2011 and 2012, based on the royalties paid, Qiagen sold

approximately 22,000 and 38,000 Test Kits, which it represented were for research only non-

commercial purposes.



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                  36.    Upon information and belief, a substantial number of sales for these and

other years were not for non-commercial research only purposes but rather were offered by

Qiagen for commercial research and diagnostic testing purposes in violation ofthe License

Agreement.

                  37.    Regulatory approval for the Test Kit was received in or around July 2013.

It was only at that point that Qiagen N.V. acquired the right to offer for sale and to sell Licensed

Products as opposed to Licensed Research Products.

                  38.    All sales of Test Kits for commercial research and diagnostic testing

purposes by Qiagen prior to July 2013 were in violation ofthe License Agreement and the non-

exclusive Patent Rights held by Qiagen N.V. as a sublicensee under the License Agreement.

                  39.    Upon information and belief, many of Qiagen's sales in violation ofthe

License Agreement took place in Massachusetts.

                  40.    Upon information and belief, Qiagen has conducted business activities

relating to the Licensing Agreement including, but not limited to, marketing and sales of Test

Kits in Massachusetts and elsewhere.

                  41.    Qiagen has communicated with EGL and LabCorp regarding the License

Agreement(including regarding Qiagen's performance and breaches ofthe License Agreement)

through Qiagen GmbH and Qiagen Manchester, Ltd. in Massachusetts.

                   42.   Royalty reports sent pursuant to the Licensing Agreement were sent from

Qiagen Manchester, Ltd. to EGL in Massachusetts.

                   43.   Upon information and belief, Qiagen Manchester, Ltd. performed Qiagen

N.V.'s obligation in the License Agreement to obtain FDA approval for the Test Kit.




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                    44.   Upon information and belief, Qiagen's sales of Test Kits for commercial

research and diagnostic testing purposes prior to regulatory approval were made by employees,

agents and/or representatives of Qiagen North American Holdings, Inc. and/or Qiagen Inc. in

Massachusetts and elsewhere.

                                               COUNT I.

                                     PATENT INFRINGEMENT

                    45.   The allegations of paragraphs 1 through 41 are incorporated as if set forth

fully herein.

                    46.   Qiagen has offered to sell and has, in fact, sold in the United States Test

Kits for uses which were specifically excluded from the scope ofthe permissions granted to

Qiagen N.V. under the License Agreement.

                    47.   Qiagen has offered to sell and has, in fact, sold to others("Qiagen

Customers")in the United States, Test Kits for Qiagen Customers to use in ways which were

specifically excluded from the scope ofthe permissions granted to Qiagen N.V. under the

License Agreement.

                    48.   Qiagen has offered to sell and has, in fact, sold to Qiagen Customers in the

United States Test Kits for Qiagen Customers to use in ways which are covered by one or more

claims ofthe `468 Patent and related patents.

                    49.   Qiagen has used Licensed Research Products in ways which were

specifically excluded from the scope ofthe permissions granted to Qiagen N.V. under the

License Agreement.

                    50.   Qiagen has offered to sell and has, in fact, sold in the United States Test

Kits for commercial research and diagnostic testing purposes before regulatory approval was




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obtained for uses which were specifically excluded from the scope ofthe permissions granted to

Qiagen N.V. under the License Agreement.

                    51.   Qiagen has offered to sell and has, in fact, sold to Qiagen Customers in the

United States Test Kits for commercial research and diagnostic testing purposes before

regulatory approval was obtained for Qiagen Customers to use in ways which were specifically

excluded from the scope of the permissions granted to Qiagen N.V. under the License

Agreement.

                    52.   Qiagen has offered to sell and has, in fact, sold to Qiagen Customers in the

United States Test Kits for commercial research and diagnostic testing purposes before

regulatory approval was obtained for Qiagen Customers to use in ways which are covered by one

or more claims ofthe `468 Patent and related patents.

                    53.   Qiagen has used Test Kits for commercial research and diagnostic testing

purposes before regulatory approval was obtained in ways which were specifically excluded

from the scope ofthe permissions granted to Qiagen N.V. under the License Agreement.

                    54.   The foregoing actions constitute infringement by Qiagen of one or more

claims of the `468 Patent and related patents.

                    55.   The foregoing actions constitute active inducement ofinfringement by

Qiagen of one or more claims ofthe `468 Patent and related patents.

                    56.   The foregoing actions constitute contribution by Qiagen to the

infringement by Qiagen Customers of one or more claims ofthe `468 Patent and related patents.

                    57.   EGL has suffered a financial loss in Massachusetts as a result of Qiagen's

actions as alleged herein.




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                  58.    EGL has been damaged in Massachusetts as a result of Qiagen's actions as

alleged herein.

                                             COUNT II.

          VIOLATION OF MASSACHUSETTS GENERAL LAWS CHAPTER 93A

                   59.   The allegations of paragraphs 1 through 58 are incorporated as if set forth

fully herein.

                   60.   At all times relevant to this action, EGL and Qiagen were engaged in trade

or commerce.

                   61.   Pursuant to the License Agreement, before regulatory approval ofthe Test

Kit was obtained, Qiagen N.V. had the right to offer for sale and to sell Licensed Research

Products only.

                   62.   Qiagen was and is aware of Qiagen N.V.'s limited rights under the

License Agreement to offer for sale and to sell Test Kits only before regulatory approval ofthe

Test Kit was obtained.

                   63.   Pursuant to the License Agreement, Qiagen N.V. also had the right to

offer for sale and to sell Test Kits for commercial research and diagnostic testing purposes only

after regulatory approval ofthe Test Kit was obtained.

                   64.   Qiagen was and is aware of Qiagen N.V.'s limited rights under the

License Agreement to offer for sale and to sell Test Kits for commercial research and diagnostic

testing purposes only after regulatory approval of the Test Kit had been obtained.

                   65.   Qiagen acted in bad faith by offering Test Kits for sale for commercial

research and diagnostic testing purposes before regulatory approval ofthe Test Kit was obtained.

                   66.   Qiagen acted in bad faith by selling Test Kits for commercial research and

diagnostic testing purposes before regulatory approval ofthe Test Kit was obtained.


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                   67.    By offering Test Kits for commercial research and diagnostic testing

purposes for sale before regulatory approval ofthe Test Kit was obtained, Qiagen willfully and

knowingly disregarded and repudiated Qiagen N.V.'s known contractual arrangements under the

License Agreement and exceeded the scope of Qiagen N.V.'s rights under the License

Agreement.

                   68.    By selling Test Kits for commercial research and diagnostic testing

purposes before regulatory approval ofthe Test Kit was obtained, Qiagen willfully and

knowingly disregarded and repudiated Qiagen N.V.'s known contractual arrangements under the

License Agreement and exceeded the scope of Qiagen N.V.'s rights under the License

Agreement.

                   69.    By offering for sale Test Kits for commercial research and diagnostic

testing purposes before regulatory approval ofthe Test Kit was obtained, Qiagen intended to and

did obtain the benefit of EGL's express retention in the License Agreement of the exclusive right

to offer EGFR testing for commercial purposes to determine the effectiveness of an EGFR

targeting treatment in a patient prior to regulatory approval.

                    70.   By selling Test Kits for commercial research and diagnostic testing

purposes before regulatory approval ofthe Test Kit was obtained, Qiagen intended to and did

obtain the benefit of EGL's express retention in the License Agreement of the exclusive right to

offer EGFR testing for commercial purposes to determine the effectiveness of an EGFR targeting

treatment in a patient prior to regulatory approval.

                    71.   EGL has suffered a financial loss in Massachusetts as a result of Qiagen's

actions as alleged herein.




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                   72.    EGL has been damaged in Massachusetts as a result of Qiagen's actions as

alleged herein.

                                              COUNT III.

                                     BREACH OF CONTRACT

                    73.   The allegations of paragraphs 1 through 72 are incorporated as if set forth

fully herein.

                    74.   Pursuant to the License Agreement, before regulatory approval of the Test

Kit was obtained, Qiagen N.V. had the right to offer for sale and to sell Licensed Research

Products only.

                    75.   Pursuant to the License Agreement, Qiagen N.V. also had the right to

offer for sale and to sell Test Kits for commercial research and diagnostic testing purposes only

after regulatory approval ofthe Test Kit was obtained.

                    76.   Qiagen breached the Licensing Agreement by offering Test Kits for sale

for commercial research and diagnostic testing purposes before regulatory approval ofthe Test

Kit was obtained.

                    77.   Qiagen also breached the Licensing Agreement by selling Test Kits for

commercial research and diagnostic testing purposes before regulatory approval of the Test Kit

was obtained.

                    78.   EGL has been damaged in Massachusetts as a result of Qiagen's actions as

alleged herein.




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                                              COUNT IV.

              BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

                   79.    The allegations of paragraphs 1 through 78 are incorporated as if set forth

fully herein.

                   80.    Pursuant to the License Agreement, before regulatory approval ofthe Test

Kit was obtained, Qiagen N.V. had the right to offer for sale and to sell Licensed Research

Products only.

                   81.    Qiagen was and~is aware of Qiagen N.V.'s limited rights under the

License Agreement to offer for sale and to sell Test Kits only before regulatory approval ofthe

Test Kit was obtained.

                   82.    Pursuant to the License Agreement, Qiagen N.V. also had the right to

offer for sale and to sell Test Kits for commercial research and diagnostic testing purposes only

after regulatory approval ofthe Test Kit was obtained.

                   83.    Qiagen was and is aware of Qiagen N.V.'s limited rights under the

License Agreement to offer for sale and to sell Test Kits for commercial research and diagnostic

testing purposes only after regulatory approval of the Test Kit had been obtained.

                    84.   Qiagen acted in bad faith by offering for sale Test Kits for commercial

research and diagnostic testing purposes before regulatory approval of the Test Kit was obtained.

                    85.   Qiagen acted in bad faith by selling Test Kits for commercial research and

diagnostic testing purposes before regulatory approval ofthe Test Kit was obtained.

                    86.   By offering Test Kits for commercial research and diagnostic testing

purposes for sale before regulatory approval of the Test Kit was obtained, Qiagen willfully and

knowingly disregarded and repudiated Qiagen N.V.'s known contractual arrangements under the




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License Agreement and exceeded the scope of Qiagen N.V.'s rights under the License

Agreement.

                   87.    By selling Test Kits for commercial research and diagnostic testing

purposes before regulatory approval ofthe Test Kit was obtained, Qiagen willfully and

knowingly disregarded and repudiated Qiagen N.V.'s known contractual arrangements under the

License Agreement and exceeded the scope of Qiagen N.V.'s rights under the License

Agreement.

                   88.    By offering Test Kits for commercial research and diagnostic testing

purposes for sale before regulatory approval ofthe Test Kit was obtained, Qiagen intended to

and did obtain the benefit of EGL's express retention in the License Agreement ofthe exclusive

right to offer EGFR testing for commercial purposes to determine the effectiveness of an EGFR

targeting treatment in a patient prior to regulatory approval.

                   89.    By Test Kits for commercial research and diagnostic testing purposes

before regulatory approval of the Test Kit was obtained, Qiagen intended to and did obtain the

benefit of EGL's express retention in the License Agreement ofthe exclusive right to offer

EGFR testing for commercial purposes to determine the effectiveness of an EGFR targeting

treatment in a patient prior to regulatory approval.

                    90.   EGL has suffered a loss of money in Massachusetts as a result of Qiagen's

actions as alleged herein.

                    91.   EGL has been damaged in Massachusetts as a result of Qiagen's actions as

alleged herein.




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                  WHEREFORE,Plaintiff Esoterix Genetic Laboratories demands judgment in its

favor and against Defendants Qiagen N.V., Qiagen GmbH, Qiagen North American Holdings,

Inc., Qiagen Inc., and Qiagen Manchester, Ltd. as follows:

                 (a)    Awarding compensatory damages to EGL in an amount that exceeds

$75,000;

                 (b)    Awarding double or treble damages;

                  (c)   Awarding EGL's costs and attorney's fees;

                 (d)    Finding that this case is an exceptional case and awarding EGL reasonable

        attorney's fees, pursuant to 35 U.S.C. § 285

                  (d)   Awarding applicable interest to EGL on any judgment; and

                  (e)   Awarding such other and further relief as this Court may deem just and

         appropriate.

                                         JURY DEMAND

         Wherefore Plaintiff demands a trial by jury on the within causes of action.



RESPECTFULLY SUBMITTED,this the 14t" day of August, 2014.



                                                Campbell Campbell Edwards &Conroy
                                                Professional Corporation
                                                /s/James M. Campbell
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